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                                                                          EASTERN DISTRICT ARKANSAS
                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS       JUN O6 2019
                                       DIVISION IV
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Willie McIntosh, Jr.,
                                                                       4:19-cv-391-KGB-JTR
                                                             Case No.: _ _ _ _ _ _ __
                                         Plaintiff,
                                                                     COMPLAINT
V.                                                             (JURY TRIAL DEMANDED)

Union Pacific Railroad Co.,

                                       Defendant.


                                         INTRODUCTION
       1.        Defendant Union Pacific Railroad Co. has engaged in a pattern and practice of

discriminating against employees who suffer from disabilities and/or take leave for medical

reasons, in violation of the Americans with Disabilities Acts, as amended by the ADA

Amendments Act of 2008, 42 U.S.C. § 12101, et seq. ("ADA"), and the Family Medical Leave

Act, 29 U.S.C. § 2601, et seq. ("FMLA"). This includes against Plaintiff Willie McIntosh, who

Union Pacific terminated for supposedly abusing FMLA even though his doctor told it that the

manner in which McIntosh used his FMLA leave was consistent with the reason for which he had

been approved.

                                             PARTIES

       2.       McIntosh resides this division.

       3.       Union Pacific is a railroad carrier that 1s enga~ed in interstate and foreign

commerce.

                                  JURISDICTION AND VENUE
       4.       This Cuwt has original jw'isdiction over McIntosh's ADA and FMLA claims under

28 U.S.C. § 1331.                                     This case assigned to Distrid Judge,_Baker
                                                                                            _ _ __
                                                                            Ray
                                                      and to Magistrate J u d g1---------
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        5.       Venue is proper under 28 U.S.C. § 1391 because McIntosh resides this division,

Union Pacific operates in this division, and the illegal conduct occurred in this division.

                                       FACTUAL ALLEGATIONS

        6.       McIntosh suffers from hypertension.

        7.       Hypertension can cause aneurisms, blindness, difficulty sleeping, erectile

dysfunction, heart attacks, and strokes.

        8.       McIntosh's hypertension occasionally causes him to be unable to safely perform his

job's essential functions.

        9.       McIntosh therefore requested intermittent-FMLA leave.

        10.      Union Pacific approved McIntosh's request for intermittent-FMLA leave.

        11.      Late in the evening of March 16, 2018, McIntosh's hypertension flared up.

        12.      McIntosh therefore took the medication he had recently been prescribed.

        13.      The new medication's side effects caused McIntosh to be unable to safely perform

his job's essential functions.

        14.     McIntosh therefore marked off from call on intermittent-FMLA leave.

        15.     On the afternoon of the next day, McIntosh mowed a friend's yard.

        16.     Union Pacific learned that McIntosh had mowed the yard, accused him of having

been dishonest about his FMLA use, and terminated him.

        17.     Union Pacific terminated McIntosh despite having received a letter from

McIntosh's doctor that said the following:

       Mr. Willie McIntosh is unable to operate any moving vehicle for more than 2
       hours at a time due to dizziness and other unknown side effects from his new
       medication. It is unsafe for both the patient and others. He is, however, capable of
       doing household chores in short durations. These chores include, but are not
       limited to, cleaning, mowing the yard, cooking, and vacuuming.




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                                       CAUSES OF ACTION

                                        COUNTI
                            VIOLATIONS OF 42 U.S.C. § 12101, et seq.

        18.      Union Pacific was McIntosh's "employer" within the meaning of the ADA.

        19.      McIntosh is disabled within the meaning of the ADA.

        20.      McIntosh is a qualified individual within the meaning of the ADA.

        21.      Section l 21 l 2(a) of the ADA prohibits employers from "discriminat[ing] against a

qualified individual on the basis of disability in regard to job application procedures, the hiring,

advancement, or discharge of employees, employee compensation, job training, and other terms,

conditions, and privileges of employment."

       22.       Union Pacific discriminated against McIntosh on the basis of disability when it

terminated him for supposedly abusing his intermittent-FMLA leave.

       23.       Because Union Pacific violated 42 U.S.C. § 12112, McIntosh has suffered and will

continue to suffer loss of income, emotional distress, and other damages in an amount in an amount

to be determined by the trier of fact. McIntosh is also entitled to attorneys' fees and costs incurred

in connection with these claims.

       24.      Union Pacific committed the above-alleged facts with reckless disregard or

deliberate disregard for McIntosh's rights and safety. As a result, McIntosh is entitled to punitive

damages.

                                          COUNT II
                               VIOLATIONS OF 29 U.S.C. § 2601, et seq.

       25.      Section 2612(a)(l) of the FMLA entitles employees to up to twelve weeks of leave

during any twelve-month period for certain reasons, including the employee's serious health

condition.

       26.      Section 2615(a)(2) of the FMLA makes it is unlawful for "any employer to


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discharge or in any other manner discriminate against any individual for opposing any practice

made unlawful by [the Act]."

         27.    Union Pacific interfered with, restrained, denied the exercise of the protected rights

ot:   and discriminated against McIntosh's rights tmder the FMLA when, among other things, it

terminated her for taking FMLA leave.

         28.    Because Union Pacific violated the .FMLA, McIntosh is entitled to compensatory

damages for loss of income, including back pay, lost benefits, consequential damages, and front

pay, as well as liquidated damages, garden-variety emotional distress damages, declaratory and

injunctive relief, reinstatement, and other damages. McIntosh is also entitled to attorneys' fees,

costs, and interest incurred in connection with these claims.

         29.       Union Pacific committed the above-alleged acts with reckless or deliberate

disregard for the rights and safety of McIntosh. As a result, he is entitled to punitive damages.

                                          REQUEST FOR RELIEF

         30.   McIntosh requests that the Court find Union Pacific acted in direct violation of the

ADA and/or FMLA.

         31.   McIntosh further requests that the Court order Union Pacific to:

               •     reinstate her;

               •     pay to her an award for compensatory damages arising from loss of income and
                     benefits in an amount to be determined by the trier of fact;

               •     pay to her an award for garden-variety emotional distress in an amow1t in excess
                     of $75,000.00;

               •     pay to her an award for costs (including litigation and expert costs),
                     disbursements, and attorneys' fees;

               •     pay to her an award for $300,000 for punitive damages for each violation of the
                     ADA; and



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                •     pay to her an award for liquidated damages in an amount equal to her wage and
                      benefit loss.

        32.    McIntosh further requests that the Court order judgment against Union Pacific for

all other relief available under the ADA and/or FMLA, and for such other relief as the Court deems

just and equitable.


                                              THE MOODY LAW FIRM
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